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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                   )             CASE NO. 8:08CR183
                                            )
             Plaintiff,                     )
                                            )
             vs.                            )                   ORDER
                                            )
RONALD PROKUPEK and                         )
CHRISTINE McGLOTHLEN,                       )
                                            )
             Defendants.                    )

      This matter is before the Court on the government’s motion to dismiss (Filing No.

180). Under Federal Rule of Criminal Procedure 48(a), leave of court is granted for the

dismissal of the Indictment, without prejudice, against the above-named Defendants.

      IT IS ORDERED that the government’s motion to dismiss (Filing No. 180) is granted.

      DATED this 23rd day of March, 2011.

                                                BY THE COURT:


                                                s/Laurie Smith Camp
                                                United States District Judge
